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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. Case 1:21-cv-02672-STV

  JENNIFER L. COOPER, EUGENE DIXON, FRANCIS J. CIZMAR, ANNA PENNALA,
  KATHLEEN DAAVETTILA, CYNTHIA BRUNELL, KARYN CHOPJIAN, AND ABBIE
  HELMINEN, INDIVIDUALLY, AND ON BEHALF OF ALL OTHERS SIMILARLY
  SITUATED,

                 Plaintiffs,

  v.

  US DOMINION, INC., DOMINION VOTING SYSTEMS, INC., and DOMINION VOTING
  SYSTEMS CORPORATION,

                 Defendants.


                               DEFENDANTS’ MOTION TO DISMISS


          Pursuant to Rules 12(b)(1) and (6) of the Federal Rules of Civil Procedure, Defendants

   US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation

   (collectively, “Dominion”), by and through their undersigned counsel, Brownstein Hyatt Farber

   Schreck, LLP, respectfully move to dismiss this case, and in support, state as follows:

                                           INTRODUCTION

          This case seeks retribution against Dominion for defending itself against defamatory

   statements made following the 2020 election. It is but another meritless lawsuit in a long line of

   equally meritless election fraud lawsuits, including several where courts (including the District

   of Colorado) have imposed sanctions. In fact, in its order sanctioning attorney Sidney Powell

   and others, the U.S. District Court in Michigan characterized one of the very “Kraken” lawsuits

   that attached Plaintiffs’ affidavits as exhibits to the complaints as “a historic and profound abuse
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  of the judicial process.” King v. Whitmer, No. 20-13134, 2021 WL 3771875, at *1 (E.D. Mich.

  Aug. 25, 2021). Plaintiffs, all eight of whom are Michigan residents, were poll watchers and/or

  challengers at the TCF Center in Detroit during the election. (Compl., ¶¶ 16–28.) By submitting

  these affidavits used in support of Sidney Powell’s sham “Kraken” litigation, Plaintiffs were

  active participants in a disinformation campaign that deceived millions of people into thinking

  Dominion had stolen their vote and rigged the election. (See, e.g., id., Exs. 1–2 (complaints

  attaching Plaintiffs’ affidavits as exhibits).)

          Plaintiffs’ evident connection to those spreading falsehoods prompted Dominion’s

  defamation counsel, Clare Locke LLP (“Clare Locke”), to send them document preservation

  letters. (See id., Ex. 2 ¶¶ 16–28.) Dominion has a right to defend itself against defamation, and

  it has a right to ensure evidence is preserved. But Plaintiffs, none of whom have been sued by

  Dominion, have nevertheless filed this lawsuit against Dominion based on the facially absurd

  theories that sending a document preservation letter constitutes illegal racketeering, civil

  conspiracy, and a violation of Plaintiffs’ constitutional rights.

          Plaintiffs’ theories, if permitted, would undermine standard civil litigation practices and

  throw defamation law into chaos. By definition, document preservation letters and other

  prelitigation correspondence do not initiate any legal action. And they certainly are not criminal.

  Plaintiffs’ theories nevertheless would give private individuals constitutional protection to

  defame private companies (and especially those that contract with the government), and would

  arm these individuals with causes of action upon receipt of any prelitigation correspondence.

  This is not the law.




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           Given this lawsuit’s spurious purpose, it is not surprising that Plaintiffs’ four claims each

  suffer from numerous flaws. These claims are non-justiciable, and Plaintiffs’ allegations fail to

  state a claim for relief. For example, Plaintiffs attempt to plead a claim for violation of the

  Racketeer Influenced and Corrupt Organizations Act (“RICO”). The allegations, though, fail to

  fit the intent of RICO and fall well short of satisfying any of the elements of a RICO claim.

  Further, Plaintiffs’ constitutional claims are premised on the theory that Dominion, a private

  company, is a state actor. This is simply not so. Plaintiffs’ conspiracy claim likewise fails for

  many of the same reasons, including lack of state action and because Dominion cannot conspire

  with itself. The Complaint must be dismissed in its entirety.1

                                            BACKGROUND

      I.   The 2020 Election

           The 2020 election was the “most secure in American history.”2 The U.S. Justice

  Department found no evidence of widespread fraud that would have changed the outcome of the

  2020 election.3 Audits and hand recounts of paper ballots have repeatedly confirmed the


  1
    Although not addressed in this motion, even if this Court had subject-matter jurisdiction and
  Plaintiffs could state a claim for relief, the class allegations should be stricken under Rules
  23(c)(1)(A) and 23(d)(1)(D) because, for example, common issues do not predominate. Not only
  are Plaintiffs’ alleged damages unclear, but proving such diverse and personal damages as
  emotional distress and mental anguish will need to be assessed on an individual basis. Dominion
  reserves the right to move to strike the class allegations in a separate motion.
  2
    Joint statement from the Election Infrastructure Government Coordinating Council & the
  Election Infrastructure Sector Coordinating Executive Committees, Cybersecurity &
  Infrastructure Security Agency (Nov. 12, 2020), available at https://www.cisa.gov/news/
  2020/11/12/joint-statement-elections-infrastructure-government-coordinating-council-election
  (concluding that “[t]here is no evidence that any voting system deleted or lost votes, changed
  votes, or was in any way compromised”).
  3
    See, e.g., Katie Benner & Michael S. Schmidt, Barr Acknowledges Justice Dept. Has Found No
  Widespread Voter Fraud, N.Y. Times (Dec. 14, 2020), available at
  https://www.nytimes.com/2020/12/01/us/politics/william-barr-voter-fraud.html.

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  accuracy of Dominion’s voting systems used in the election.4 Indeed, Plaintiffs’ own affidavits

  include no allegations of issues involving Dominion’s systems. (See id., Exs. 1, 3, 6–7, 9, 11,

  14–15.)5

          Yet, despite these facts, Plaintiffs channel MyPillow CEO Mike Lindell and accuse

  Dominion of engaging in “Lawfare” to stifle speech and debate regarding election security. Just

  before this lawsuit was filed, Mr. Lindell announced that there would be a new class action

  lawsuit against Dominion filed on behalf of those who received letters from Dominion.6 This

  case, which recycles many of the same allegations Mr. Lindell has made in other lawsuits,

  appears to be it.



  4
    See, e.g., Trump still wins small Michigan county after hand recount, Assoc. Press (Dec. 17,
  2020), available at https://apnews.com/article/election-2020-joe-biden-donald-trump-michigan-
  elections-07e52e643d682c8033a0f26b0d863387 (explaining that the audit found that the small
  number of additional votes for Trump was attributable to human error); Georgia Secretary of
  State, Historic First Statewide Audit of Paper Ballots Upholds Result of Presidential Race,
  available at https://sos.ga.gov/index.php/elections/historic_first_statewide_audit_of_paper_
  ballots_upholds_result_of_presidential_race; Final Audit Reports and Affirmations, Colo. Sec’y
  of State, available at https://www.sos.state.co.us/pubs/elections/RLA/files/2020/general/
  finalReports.html (last visited Oct. 8, 2021) (providing links to Risk Limiting Audits from
  Colorado counties that give a statistical level of confidence that the outcome of the 2020 election
  was correct); Casey Van Divier, Wayne Williams Stands by Dominion Voting Systems Results . . .
  in Colorado, WESTWORD (Nov. 20, 2020), available at https://www.westword.com/news/
  former-secretary-of-state-defends-dominion-voting-systems-resultsin-colorado-11847518
  (quoting former Colorado Secretary of State Wayne Williams, a Republican, stating: “Since its
  adoption, Dominion machines have been tested in 62 Colorado counties at least 807 times. They
  have passed every test.”); Ben Giles, The Discredited GOP Election Review In Arizona’s Largest
  County Also Finds Biden Won, NPR (Sept. 24, 2021), available at https://www.npr.org/
  2021/09/24/1040327483/the-controversial-election-review-in-arizona-confirms-bidens-win.
  5
    In a transparent effort to discredit Dominion’s defamation lawsuits, the Complaint devotes
  considerable space to allegations that Dominion’s voting systems are not secure and promote
  fraud. (See generally Compl., ¶¶ 42–73.)
  6
    See, e.g., Mike Lindell Drops Massive Class Action Lawsuit, OFFICIAL STEVE BANNON’S
  WAR ROOM PANDEMIC (Oct. 4, 2021), available at https://warroom.org/2021/09/30/mike-
  lindell-drops-massive-class-action-lawsuit/.

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   II.   Nature of Underlying Case

         This case centers on document preservation letters sent to Plaintiffs by Dominion’s

  defamation counsel. Plaintiffs characterize these letters as cease-and-desist letters sent as part of

  purported “Lawfare” being waged by Dominion. (See id. ¶¶ 1, 4.) The letters’ plain language,

  however, undermines this characterization. What they say—and don’t say—is important.

         The nearly identical letters received by Plaintiffs speak for themselves. (See id. ¶ 5, Exs.

  2, 4–5, 8, 10, 12–13, 16 (reproducing or attaching the letters).) The letters, which are entitled

  “Notice of Obligation to Preserve Documents Related to Dominion,” are nothing more than

  typical prelitigation correspondence principally designed to put the recipient on notice to

  preserve documents that may be relevant to imminent litigation. None of them threaten

  imminent litigation against the recipient. Instead, the letters make clear that they were sent in

  response to the “ongoing misinformation campaigns falsely accusing Dominion of somehow

  rigging or otherwise improperly influencing the outcome of the November 2020 U.S. presidential

  election” and that separate letters have been sent to “Sidney Powell and various media entities

  demanding retraction of their myriad defamatory and conspiratorial claims about Dominion.”

  (Id., ¶ 5.) Because Plaintiffs all signed affidavits that were attached as exhibits to multiple

  discredited election fraud lawsuits, including Sidney Powell’s non-sanctioned “Kraken”

  litigation falsely accusing Dominion of rigging the 2020 election, (see id., Exs. 1–2), Dominion

  believed that Plaintiffs had likely exchanged defamatory communications with Sidney Powell

  and others. The letters thus also implored Plaintiffs to “cease and desist taking part in defaming

  Dominion,” and “to preserve all documents and communications that may be relevant to

  Dominion’s pending legal claims.” (Id.) The letters further asked Plaintiffs to retract any



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  defamatory statements they had made about Dominion should they have done so, a request that is

  a prerequisite for bringing a defamation lawsuit in many states. (Id.) The letters are clearly not

  an abuse of the legal system.

         After sending these document preservation letters, Dominion did in fact sue Sidney

  Powell, Mike Lindell, various media organizations, and others for making false statements about

  Dominion in connection with the 2020 election. Motions to dismiss these lawsuits, which

  asserted many of the same theories expressed in the Complaint, have failed. See, e.g., US

  Dominion, Inc. v. Powell, No. 1:21-cv-00040 (CJN), 2021 WL 3550974, (D.D.C. Aug. 11, 2021)

  (denying motions to dismiss filed by Sidney Powell, Rudy Giuliani, My Pillow, Inc., and its

  Chief Executive Officer, Mike Lindell). Discovery is ongoing, and the preservation of relevant

  documents will aid Dominion in prosecuting its claims.

                                         LEGAL STANDARD

         Rule 12(b)(1) provides for dismissal of an action for “lack of subject matter jurisdiction.”

  See Fed. R. Civ. P. 12(b)(1). To survive a motion to dismiss under Rule 12(b)(1), Plaintiff bears

  the burden of establishing that the Court has subject matter jurisdiction under Rule 12(b)(1).

  Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992).

         To survive a motion to dismiss under Rule 12(b)(6), a complaint must contain enough

  facts “to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

  (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “Mere ‘labels and

  conclusions’ and ‘a formulaic recitation of the elements of a cause of action’ are insufficient.”

  Morman v. Campbell Cnty. Mem’l Hosp., 632 F. App’x 927, 931 (10th Cir. 2015). Thus, “a

  court should disregard all conclusory statements of law and consider whether the remaining



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  specific factual allegations, if assumed to be true, plausibly suggest the defendant is liable.”

  Kan. Penn Gaming, LLC v. Collins, 656 F.3d 1210, 1214 (10th Cir. 2011).

                                             ARGUMENT

      I.   Plaintiffs Fail to State a Plausible Claim for Relief.

           All four of Plaintiffs’ claims for relief against Dominion—Counts I through IV—must be

  dismissed because Plaintiffs fail to state a claim for relief that survives Rule 12(b)(6).

              a. Plaintiffs fail to state a claim for violation of RICO.

           Plaintiffs’ first claim astonishingly alleges that Dominion violated RICO by sending the

  document preservation letters. A RICO violation under 18 U.S.C. §§ 1962(c), (d)7 requires a

  plaintiff to meet the statutory standing requirement and plausibly allege “(1) conduct (2) of an

  enterprise (3) through a pattern (4) of racketeering activity.” See, e.g., Bixler v. Foster, 596 F.3d

  751, 761 (10th Cir. 2010); see also Danielsen v. Burnside-Ott Aviation Training Ctr., Inc., 941

  F.2d 1220, 1223–24 (D.C. Cir. 1991) (“Congress enacted the RICO statute . . . to combat

  criminal organizations at large in the American commercial republic.”). Considering that the

  allegations do not fit the intent of RICO or allege anything remotely close to organized crime,

  Plaintiffs cannot come close to satisfying RICO standing or any of these elements.

                     i.   Plaintiffs do not allege a sufficient RICO injury.

           First and foremost, Plaintiffs’ RICO claim fails because Plaintiffs’ purported injuries are

  insufficient to convey RICO standing. To bring a civil RICO claim, a plaintiff must show that


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    Plaintiffs fail to specify which particular subpart of statute the RICO claim is based. However,
  because Plaintiffs do not allege that Dominion invested racketeering income or acquired a
  controlling interest in an enterprise through a pattern of racketeering activity, see 18 U.S.C. §§
  1962(a), (b), it appears Plaintiffs’ RICO claim relates to the two remaining subsections under the
  statute—namely, 18 U.S.C. §§ 1962(c), (d).

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  “he was injured in his business or property by reason of the defendant’s violation of § 1962.”

  Deck v. Engineered Laminates, 349 F.3d 1253, 1257 (10th Cir. 2003). This element “requires

  that a plaintiff prove both but-for and proximate causation,” CGC Holding Co., LLC v. Hutchens,

  974 F.3d 1201, 1213 (10th Cir. 2020), including that the “alleged violation led directly to the

  plaintiff’s [purported] injuries.” Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 461 (2006).

  This injury requirement has generally been strictly construed to mean pecuniary injury to a

  proprietary interest. See, e.g., Grogan v. Platt, 835 F.2d 844, 848 (11th Cir. 1988). In other

  words, a plaintiff must show a concrete financial loss. See In re Taxable Mun. Bond Secs. Litig.,

  51 F.3d 518, 523 (5th Cir. 1995); Fleischhauer v. Feltner, 879 F.2d 1290, 1299–1300 (6th Cir.

  1989); Imagineering, Inc. v. Kiewit Pac. Co., 976 F.2d 1303, 1310 (9th Cir. 1992).

          The Complaint is entirely devoid of any allegations concerning injuries to Plaintiffs’

  business or property interests. This is not surprising. The sending of document preservation

  letters causes injury to neither Plaintiffs’ business nor property in any “ascertainable and

  definable” way. See, e.g., Isaak v. Trumbull Sav. & Loan Co., 169 F.3d 390, 396–97 (6th Cir.

  1999) (concluding that plaintiffs had RICO standing when camping resorts filed for bankruptcy,

  because a “bust-out” scheme to defraud buyers was complete by the fraudulent act of placing the

  property into bankruptcy); Deck, 349 F.3d at 1257. Rather, Plaintiffs’ purported injuries caused

  by receiving these letters include fear (which allegedly prompted some Plaintiffs to purchase

  security equipment) and emotional distress. (See Compl., ¶¶ 16–28.) Fear and emotional

  distress are simply insufficient injuries to support Plaintiffs’ RICO claim. This Court need not

  look any further to dismiss Plaintiffs’ first claim for relief.




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                   ii.   Plaintiffs fail to sufficiently allege any racketeering activity.

         Another fatal flaw in Plaintiffs’ RICO claim is that they do not identify any activity by

  Dominion that constitutes a predicate “racketeering” act under RICO. See Tal v. Hogan, 453

  F.3d 1244, 1263 (10th Cir. 2006) (noting that a failure to allege a predicate act requires dismissal

  of a RICO claim). Although Plaintiffs allege that Dominion committed a host of predicate acts,

  including “extortion, witness intimidation, witness retaliation, witness tampering, and mail

  fraud,” (see Compl., ¶ 101), the Complaint fails to plausibly allege that Dominion committed any

  of these predicate acts by sending document preservation letters.8

         First, Plaintiffs’ allegation that sending document preservation letters constitutes mail

  fraud ignores what that crime requires. The elements of mail fraud under 18 U.S.C. § 1341 are

  “(1) a scheme or artifice to defraud or obtain property by means of false or fraudulent pretenses,

  representations, or promises, (2) an intent to defraud, and (3) use of the mails to execute the

  scheme.” United States v. Zander, 794 F.3d 1220, 1226 (10th Cir. 2015). The statute defines

  “scheme or artifice to defraud” as a “scheme or artifice to deprive another of the intangible right

  of honest services.” 18 U.S.C. § 1346; see also Skilling v. United States, 561 U.S. 358, 408–09

  (2010) (holding that 18 U.S.C. § 1346 criminalizes only bribes and kickbacks).

         Here, Plaintiffs fail to plead the requisite elements of mail fraud. Wholly absent from the

  Complaint are any allegations that Dominion sent these letters to obtain physical property from


  8
    Plaintiffs also fail to allege various predicate acts with particularity. For example, allegations
  of mail fraud under RICO must be plead with particularity pursuant to Rule 9(b). See, e.g.,
  Cayman Expl. Corp. v. United Gas Pipe Line Co., 873 F.2d 1357, 1362 (10th Cir. 1989)
  (collecting cases). “To satisfy Rule 9(b), “the complaint must set forth the time, place and
  contents of the false representations, the identity of the party making the false statements, and the
  consequences thereof.” Christou v. Beatport, LLC, 849 F.Supp.2d 1055, 1077 (D. Colo. 2012).
  The Complaint lacks any specific allegations of false representations.

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   Plaintiffs or to deprive them of any sort of intangible honest services through bribes or

   kickbacks. See, e.g., Vicom, Inc. v. Harbridge Merch. Servs., Inc., No. 92 C 2808, 1993 WL

   8340, at *4 (N.D. Ill. Jan. 8, 1993), judgment aff’d, 20 F.3d 771 (7th Cir. 1994) (A scheme to

   defraud encompasses “acts of artifice or deceit which are intended to deprive an owner of his

   property or money.”). Plaintiffs instead allege that these letters were sent with the aim of

   “deter[ing] . . . free expression.” (Compl., ¶ 83.) This does not constitute an intent to defraud.

          Second, Plaintiffs fail to sufficiently plead the elements of extortion, which requires the

   “wrongful use of actual or threatened force, violence or fear.” 18 U.S.C. § 1951(b)(2).

   Dominion’s issuance of alleged “cease and desist” letters does not qualify as “the wrongful use

   of actual or threatened force, violence or fear.” See, e.g., San Juan Reg’l Med. Ctr. v. 21st Cent.

   Centennial Ins. Co., 19-CV-734 MV/JFR, 2020 WL 6146445, at *4 (D.N.M. Oct. 20, 2020);

   Sorensen v. Polukoff, 2:18-CV-67 TS, 2018 WL 2012738, at *6 (D. Utah Apr. 30, 2018)

   (reasoning that “the threat of extensive litigation, whether meritorious or frivolous, is, at worst,

   abusive or bad-faith litigation,” not “extortion under § 1951,” and thus holding “that Plaintiff

   failed to plead extortion and the Court will not consider it as a predicate act”). Chaos would

   unfold if potential civil plaintiffs could face RICO claims, or be criminally prosecuted, every

   time they sent prelitigation letters. See Curtis & Assocs., P.C. v. Law Offs. of David M.

   Bushman, Esq., 758 F. Supp. 2d 153, 173 (E.D.N.Y. 2010) (dismissing civil RICO claims and

   reasoning that permitting such an interpretation of RICO “would result in the inundation of

   federal courts with civil RICO actions that could potentially subsume all other state and federal

   litigation in an endless cycle where any victorious litigant immediately sues opponents for RICO

   violations”).



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          Equally fatal is that extortion requires “the obtaining of property from another, with his

   consent.” 18 U.S.C. § 1951(b)(2); see also Scheidler v. Nat’l Org. for Women, Inc., 537 U.S.

   393, 407 (2003) (holding that to prove extortion under the Hobbs Act, a plaintiff must show that

   the defendant actually obtained or sought to obtain property through wrongful means). Thus,

   “the property extorted must therefore be transferable” and “capable of passing from one person

   to another.” Sekhar v. United States, 570 U.S. 729, 734 (2013). As noted above, the Complaint

   does not allege that Dominion obtained any property from Plaintiffs, nor could it. Accordingly,

   Plaintiffs have failed to plead any act by Dominion constituting extortion.

          Third, Plaintiffs fail to adequately allege that Dominion engaged in witness retaliation,

   witness intimidation, or witness tampering. With respect to witness retaliation under Colorado

   law, Plaintiffs must allege that Dominion “use[d] a threat, act of harassment . . . , or act of harm

   or injury upon any person or property, which action is directed to or committed upon a witness in

   any criminal or civil proceeding [or] a victim of any crime.” C.R.S. § 18-8-706(1). The

   statutory scheme defines “witness” as those “having knowledge of ‘any crime’ or who have

   reported ‘any crime,’ as well as witnesses who have made statements under oath [which has been

   received as evidence] or have been served with subpoenas.” People v. Johnson, 446 P.3d 826,

   831 (Colo. App. 2017) (describing C.R.S. § 18-8-702, which defines “witness” as “any natural

   person . . . whose declaration under oath is received or has been received as evidence for any

   purpose”). But absent from the Complaint are any allegations showing that Plaintiffs were

   victims of crimes, witnesses of crimes, or witnesses who submitted affidavits that have been

   received as evidence (as opposed to affidavit merely being attached to a complaint).

   Additionally, Plaintiffs cannot establish a claim for witness retaliation under federal law because



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   they have not appeared as witnesses in a proceeding. See Witt v. Snider, No. 16-cv-01303-MSK-

   CBS, 2017 WL 2215252, at *8 (D. Colo. May 19, 2017) (explaining that 18 U.S.C. § 1513

   “applies only to retaliation relating to a person who has actually appeared as a witness at a

   proceeding”).

           With regard to witness intimidation, Plaintiffs must allege that Dominion “by use of a

   threat, act of harassment . . . , or act of harm or injury to any person or property directed to or

   committed upon a witness in any criminal or civil proceeding [or] a victim of any crime”

   attempts to or does influence the witness to testify falsely, induce the witness to avoid a legal

   summons to testify, induce the witness to “absent himself” from an official proceeding, or inflict

   harm or injury prior to a witness’s testimony. C.R.S. § 18-8-704(1). The definitions of

   “witness” and “victim” enumerated above apply with equal force to witness intimidation. See

   C.R.S. § 18-8-702. The Complaint thus fails to allege that Dominion engaged in witness

   intimidation because there are no allegations that Plaintiffs are witnesses or victims that fit those

   definitions under the statute.

           Finally, with respect to witness tampering under federal law9 (and as relevant here), 18

   U.S.C. § 1512(b) prohibits knowingly “intimidat[ing], threaten[ing], or corruptly persuad[ing]

   another person, or attempt[ing] to do so . . . with intent to . . . influence, delay, or prevent the

   testimony of any person in an official proceeding” or “cause or induce any person to” withhold

   testimony or documents from a proceeding. 18 U.S.C. § 1512(b). The statute further prohibits

   intentionally “harass[ing] another person and thereby hinder[ing], delay[ing], prevent[ing], or



   9
     The federal crimes of witness tampering and witness intimidation are not treated distinctly but
   rather codified under a single statute—18 U.S.C. § 1512.

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   dissuad[ing] any person from . . . attending or testifying in an official proceeding.” Id. §

   1512(d). Here, Plaintiffs do not allege that the letters hindered, delayed, prevented, or dissuaded

   any person from attending or testifying in an official proceeding. Instead, Plaintiffs broadly

   allege that the letters asked Plaintiffs to “recant unspecified statements.” (Compl., ¶ 101.) This

   is insufficient to plausibly allege a predicate act of witness tampering.

                   iii.   Plaintiffs fail to allege a RICO enterprise.

          Plaintiffs also insufficiently plead a RICO “enterprise,” which is “any individual,

   partnership, corporation, association or other legal entity, and any union or group of individuals

   associated in fact although not a legal entity.” 18 U.S.C. § 1961(4). Plaintiffs allege that

   Dominion formed an association-in-fact enterprise with Clare Locke, its defamation counsel, and

   Hamilton Place Strategies, LLC (“HPS”), its public relations firm. (Compl., ¶ 99.) But the

   factual allegations do not support this characterization. An association-in-fact enterprise must

   have some structure, meaning: (1) “a purpose”; (2) “relationships among those associated with

   the enterprise”; and (3) “longevity sufficient to permit these associates to pursue the enterprise’s

   purpose.” Boyle v. United States, 556 U.S. 938, 946 (2009).

          Principally, no “enterprise” has been pleaded here because a party cannot be both the

   defendant “person” and the RICO enterprise. See, e.g., Garbade v. Great Divide Mining &

   Milling Corp., 831 F.2d 212, 213 (10th Cir. 1987). A corporation generally will not be liable for

   operating an association-in-fact enterprise consisting of itself and its officers or employees. See,

   e.g., Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158, 164 (2001); Brannon v. Boatmen’s

   First Nat’l Bank of Okla., 153 F.3d 1144, 1146 (10th Cir. 1998) (corporate parent and subsidiary

   not distinct). In other words, a RICO plaintiff cannot circumvent the distinctiveness requirement



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   by alleging the existence of an enterprise consisting of only a corporate defendant associating

   with its own employees or agents in the regular affairs of the corporation. See, e.g., Riverwoods

   Chappaqua Corp. v. Marine Midland Bank, N.A., 30 F.3d 339, 344 (2d Cir. 1994). Indeed,

   “[b]ecause a corporation can only function through its employees and agents, any act of the

   corporation can be viewed as an act of such an enterprise, and the enterprise is in reality no more

   than the defendant itself.” Id.

          The purported enterprise does not meet RICO’s distinctiveness requirement. Plaintiffs’

   allegations amount to nothing more than an association between a corporate defendant

   (Dominion) and its agents (Clare Locke and HPS) conducting Dominion’s regular affairs. (See

   Compl., ¶¶ 6, 8 (alleging that Clare Locke was “dispatched” by Dominion to send these

   document preservation letters and that HPS “likely developed” a “well-orchestrated publicity

   campaign” on Dominion’s behalf). These allegations do not establish some nefarious purpose;

   rather, they illustrate that Dominion utilized Clare Locke’s legal services and HPS’s public

   relations services to conduct Dominion’s everyday affairs. See, e.g., Kelly v. Palmer, Reifler &

   Assocs., P.A., 681 F. Supp. 2d 1356, 1379 (S.D. Fla. 2010) (concluding that by sending demand

   letters, a law firm defendant was “acting as an agent for its retail clients and therefore not a

   separate and independent entity” for RICO purposes). Thus, Plaintiffs fail to adequately

   establish the existence of a distinct RICO enterprise.

          Further, the Complaint does not allege a “RICO-qualifying common purpose” that unites

   Dominion, Clare Locke, and HPS. Cisneros v. Petland, Inc., 972 F.3d 1204, 1213 (11th Cir.

   2020). Plaintiffs claim that “Dominion, HPS, and Clare Locke,” sought to “weaponize[ ] the

   court system and the litigation process in an improper attempt to silence Plaintiffs.” (Compl., ¶



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   35.) This conclusory assertion is unsupported by factual allegations. Instead, the crux of the

   Complaint is that Dominion, with Clare Locke’s and HPS’s assistance, sent document

   preservation letters to Plaintiffs. (See generally id.) “[T]here is nothing inconsistent or even

   particularly suspicious about” the conduct Plaintiffs target here. Cisneros, 972 F.3d at 1213

   (finding that the complaint failed to establish a common purpose because the “concrete factual

   allegations” did not show any criminality in the defendants’ business activities). In fact,

   “[n]othing about” Dominion’s activities “remotely suggests” criminal conduct. Id. at 1212. To

   infer an “enterprise” from them would not only defy the plausibility standard under Iqbal, but

   expose “countless law-abiding companies” to RICO liability. Id. Moreover, the Complaint is

   entirely devoid of any allegations establishing the longevity of this purported “enterprise.”

   Plaintiffs do not even to attempt to allege how long Dominion, Clare Locke, and HPS have

   supposedly been pursuing a common objective. See, e.g., Boyle, 556 U.S. at 946.

                    iv.    Plaintiffs fail to sufficiently allege an effect on interstate commerce.

           Plaintiffs additionally fail to meet a related threshold requirement to establish their RICO

   claim: showing an effect on interstate commerce. A RICO claim cannot exist without some

   nexus to interstate commerce. See 18 U.S.C. § 1962(c); H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S.

   229, 232–33 (1989). Although the statutory language expressly requires that the “enterprise”

   must affect interstate commerce, courts have ruled that the interstate commerce requirement is

   satisfied if the activity of either the enterprise or the predicate racketeering acts affect interstate

   commerce. See, e.g., DeFalco v. Bernas, 244 F.3d 286, 309 (2d Cir. 2001); United States v.

   Delgado, 401 F.3d 290, 297 (5th Cir. 2005); Bunker Ramo Corp. v. United Bus. Forms, Inc., 713

   F.2d 1272, 1289 (7th Cir. 1983). A RICO enterprise is involved in interstate commerce when it



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   is itself “directly engaged in the production, distribution, or acquisition of goods and services in

   interstate commerce.” United States v. Robertson, 514 U.S. 669, 672 (1995).

          Plaintiffs’ attempts to establish a sufficient nexus with interstate commerce fall short. In

   the Complaint, Plaintiffs allege that the “Dominion Enterprise” was involved in interstate

   commerce by “provid[ing] voting machines to twenty-eight different states.” (Compl., ¶ 100.)

   But the alleged “enterprise” consisting of Dominion, Clare Locke, and HPS did no such thing.

   There are no allegations that Clare Locke and HPS had any role providing voting machines to

   states because it simply did not occur. Such activity is separate from the alleged activity of the

   “enterprise” (i.e., sending document preservation letters and allegedly engaging in “Lawfare”).

   Regardless, as discussed above, a plaintiff cannot establish a RICO enterprise through simply

   alleging a corporate defendant associates with its own employees or agents in the regular affairs

   of the corporation. See, e.g., Riverwoods Chappaqua Corp., 30 F.3d at 344. As such, Plaintiffs’

   allegations concerning Dominion’s regular affairs are insufficient to show that the purported

   RICO enterprise’s activities impact interstate commerce. Moreover, the Complaint is devoid of

   allegations concerning how mailing a letter involves interstate commerce, save for the

   conclusory assertion that the letters were sent “in numerous states beyond the borders of the

   State of Colorado.” (Compl., ¶ 100.) This is not enough to support Plaintiffs’ RICO claim. See,

   e.g., Rose v. Bartle, 692 F. Supp. 521, 534 (E.D. Pa. 1988) (dismissing Section 1962(c) claim

   because plaintiff did not allege that the enterprises affected interstate commerce), aff’d in part,

   vacated in part, rev’d in part, 871 F.2d 331 (3d Cir. 1989); Bowoto v. Chevron Corp., 481 F.

   Supp. 2d 1010, 1014–15 (N.D. Cal. 2007).

                    v.    Plaintiffs fail to allege a RICO conspiracy.



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          Finally, the RICO conspiracy claim fails for the same reasons as the substantive RICO

   claim. The RICO conspiracy provision makes it “unlawful for any person to conspire to violate

   the provisions of subsection (a), (b), or (c) of” 18 U.S.C. § 1962. See 18 U.S.C. § 1962(d).

   Because Plaintiffs have failed to plead facts supporting a plausible RICO violation under Section

   1962(c), their claim under Section 1962(d) must fail. See E. Sav. Bank, FSB v. Papageorge, 31

   F. Supp. 3d 1, 15 (D.D.C. 2014) (dismissing a RICO conspiracy claim “because there was no

   violation in which the defendant could have conspired”); Snyder v. ACORD Corp., No. 1:14-cv-

   01736-JLK, 2016 WL 192270, at *9 (D. Colo. Jan. 15, 2016) (same).

              b. Plaintiffs fail to state a claim under Section 1983.

          Plaintiffs’ second and third claims, which allege that Dominion deprived Plaintiffs of

   equal protection and their First Amendment rights under 42 U.S.C. § 1983, are also

   fundamentally flawed. To succeed on a Section 1983 claim, a plaintiff must prove that his

   constitutional rights were violated, and that the violation was caused by a person acting under

   color of law. West v. Atkins, 487 U.S. 42, 48 (1988). Plaintiffs can do neither. It is not unlawful

   for a private company to send prelitigation letters or to bring a defamation suit.

                     i.   Plaintiffs cannot show that Dominion acted under color of law.

          Plaintiffs’ challenged action—Dominion’s sending of document preservation letters—

   cannot be attributed to the state. See Gallagher v. “Neil Young Freedom Concert”, 49 F.3d

   1442, 1447 (10th Cir. 1995) (“[T]he only proper defendants in a Section 1983 claim are those

   who represent the state in some capacity, whether they act in accordance with their authority or

   misuse it.” (internal citations and quotations omitted)). To succeed on their second and third

   claims for relief, Plaintiffs must plausibly allege that Dominion’s sending of document



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   preservation letters amounts to state action under any of the four tests recognized in the Tenth

   Circuit: (1) the nexus test, (2) the symbiotic-relationship test, (3) the joint-action test, and (4) the

   public-function test. Id. at 1448–57. They cannot. Not only do Plaintiffs misunderstand

   Dominion’s role in elections,10 but Dominion acted as a private entity, and not a state actor, in

   sending the letters.

           Plaintiffs specifically allege that Dominion is a state actor under the public function test.

   (See generally Compl., ¶¶ 36–41, 107–09, 112.) Their claims are premised on the logical fallacy

   that because various state and local governments purchased Dominion’s voting systems for

   elections, Dominion acted under color of law (i.e., as a state actor) when it sent document

   preservation letters to Plaintiffs. In other words, Plaintiffs allege that because the administration

   of elections is a traditional public function, and Dominion’s voting systems aid in those elections

   by counting votes, Dominion’s separate actions taken as a private company somehow must

   always be characterized as state action. (See id.)

           The public function test does not extend state action that far. This test “asks whether the

   challenged action is a traditional and exclusive function of the state.” Wittner v. Banner Health,

   720 F.3d 770, 776–77 (10th Cir. 2013) (emphasis added). It “is difficult to satisfy” because

   “very few [functions] have been exclusively reserved to the State.” Gallagher, 49 F.3d at 1456.

   The challenged action in this lawsuit is Dominion’s sending of document preservation letters,

   which is unequivocally not a traditional and exclusive state function.11 To hold otherwise would


   10
      For purposes of a motion to dismiss, the Court must accept the allegations in the Complaint as
   true. Dominion is thus not correcting each of Plaintiffs’ misstatements in this motion.
   11
      Even if Plaintiffs were challenging Dominion’s role in providing voting systems to state and
   local governments, which they are not, the claims would fail. In Dominion’s defamation lawsuit,
   where Plaintiff’s’ counsel represents My Pillow Inc. and Mike Lindell, it has been made

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   untether the public function test from its purpose and attribute to the state purely private actions

   undertaken by private companies. See Lugar v. Edmondson Oil Co., 457 U.S. 922, 937 (1982)

   (explaining that under each of the state action tests, “the conduct allegedly causing the

   deprivation of a federal right” must “be fairly attributable to the State”).

           Dominion likewise is not a state actor under the remaining three tests. Under the

   symbiotic relationship test, “[s]tate action is also present if the state ‘has so far insinuated itself

   into a position of interdependence’ with a private party that ‘it must be recognized as a joint

   participant in the challenged activity.’” Gallagher, 49 F.3d at 1451 (quoting Burton v.

   Wilmington Parking Auth., 365 U.S. 715, 725 (1961), and noting that the focus of the test is on

   long-term interdependence between the state and a private entity). Similarly, a private party is a

   state actor under the joint action test if it “is a ‘willful participant in joint action with the State or

   its agents.’” Id. at 1453 (quoting Dennis v. Sparks, 449 U.S. 24, 27 (1980)). Under this test,

   “courts examine whether state officials and private parties have acted in concert in effecting a

   particular deprivation of constitutional rights.” Id. Here, however, there are no allegations that

   any government entity played any role in Dominion’s decision to send document preservation




   abundantly clear that “Dominion does not administer elections; election officials administer the
   elections using technology and devices purchased from Dominion.” See US Dominion, Inc. v.
   MyPillow, Inc. and Mike Lindell, No. 1:21-cv-00445-CJN, 2021 WL 3260120 (D.D.C. May 28,
   2021). No court has held that a private company providing voting systems to governments
   satisfies any of the state action tests. Courts have instead narrowly interpreted Terry v. Adams,
   345 U.S. 461 (1953). See, e.g., Acosta v. Democratic City Comm., 288 F. Supp. 3d 597, 629
   (E.D. Pa. 2018) (characterizing the Terry v. Adams decision as holding that the “‘Jaybird
   Association,’ a private Democratic club, was a state actor during its primary election because the
   Jaybird primary was ‘an integral part, indeed the only effective part, of the elective process’ that
   determined who would govern the county,” and that “courts have declined to extend the holdings
   of these Supreme Court cases to the actions of political parties in other contexts”). Dominion’s
   limited role in elections does not even remotely rise to the level of the Jaybird Association.

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   letters, let alone that the challenged activity resulted from long-term interdependence. The

   letters themselves do not mention any governmental entity. (See Compl., Exs. 2, 4–5, 8, 10, 12–

   13, 16.) No person would think receiving a letter from Dominion is akin to receiving a letter

   from the state, nor did the Plaintiffs themselves allege that they thought that Dominion’s

   document preservation letters were being sent from the government. The letters are private

   action. See Jackson v. Metro. Edison Co., 419 U.S. 345, 349 (1974) (“[T]he principle that

   private action is immune from the restrictions of the Fourteenth Amendment is well established

   and easily stated.”).

           The nexus test is particularly illustrative. Under this final test, a private entity can only

   be a state actor if “there is a sufficiently close nexus between the State and the challenged action

   of the regulated entity so that the action of the latter may fairly be treated as that of the State

   itself.” Id. at 351; see also Nat’l Collegiate Athletic Ass’n v. Tarkanian, 488 U.S. 179, 192

   (1988) (“In the typical case raising a state-action issue, a private party has taken the decisive step

   that caused the harm to the plaintiff, and the question is whether the State was sufficiently

   involved to treat that decisive conduct as state action.” (emphasis added)). The decisive conduct

   here is sending letters. But “private businesses may restrict private expression.” VDARE Found.

   v. City of Colo. Springs, 11 F.4th 1151, 1164 (10th Cir. 2021). Plaintiffs do not allege that any

   government entity participated in the letters or had any role in their issuance. No connection

   exists between any state government and the sending of document preservation letters. There is

   simply no nexus between the letters and any state, such that the challenged action “may fairly be

   treated as that of the State itself.”




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                     ii.   Plaintiffs cannot show that their constitutional rights were violated.

           Plaintiffs’ two Section 1983 claims are substantively similar—they both allege that

   Dominion’s document preservation letters and litigation tactics chilled Plaintiffs’ speech. (See

   Compl., ¶¶ 109, 114.) Their difference appears to be that Plaintiffs’ equal protection claim

   alleges that Dominion engaged in viewpoint-based discrimination by stifling Plaintiffs’

   politically conservative voices, whereas the First Amendment claim alleges that Dominion sent

   the letters to retaliate after seeing Plaintiffs’ affidavits. (See id.) Plaintiffs’ claims fail under

   either theory.

                                   A. Dominion did not violate the First Amendment.

           Plaintiffs allege that by sending the letters and filing defamation lawsuits against others,

   Dominion engaged in viewpoint discrimination and First Amendment retaliation. (See Compl., ¶

   109 (alleging in Count II that Dominion has “attempted through the use of the courts and the

   litigation process to suppress Plaintiffs’ freedom of speech”), ¶ 114 (alleging in Count III that

   Dominion “engaged in First Amendment retaliation by sending hundreds of Letters and waging

   Lawfare”).) This theory runs directly counter to First Amendment jurisprudence and cannot

   support a claim for relief.

           Defamation law already protects First Amendment values. The mere sending of

   document preservation letters, a routine prelitigation procedural step, cannot be a free-standing

   First Amendment violation because it would constitute the sort of “double-counting” that the

   U.S. Supreme Court has rejected. As the Court clarified, additional procedural protections for

   defendants in defamation litigation would be “piling on” and inconsistent with the balance struck

   under the First Amendment. See Calder v. Jones, 465 U.S. 783, 790 (1984) (explaining that “the



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   potential chill on protected First Amendment activity stemming from libel and defamation

   actions is already taken into account in the constitutional limitations on the substantive law

   governing such suits” and that “[t]o reintroduce those concerns at the jurisdictional stage would

   be a form of double counting”). The Court has “already declined in other contexts to grant

   special procedural protections to defendants in libel and defamation actions in addition to the

   constitutional protections embodied in the substantive laws.” Id. at 790–91.

          Dominion has not sued these Plaintiffs. But if it were to sue any of them, they would be

   entitled to all the constitutional protections under existing constitutional and common law

   principles, including the elemental requirement that defamation claims must be based on false

   statements of fact, not mere expression of opinion. See, e.g., Milkovich v. Lorain Journal Co.,

   497 U.S. 1, 16–17 (1990). Any claim by the Plaintiffs that their free speech rights had been

   violated is belied by the fundamental notion that no viable defamation claim against them could

   ever be brought for the mere expression of their opinions. See, e.g., id. at 13. Rather, if

   Dominion sued Plaintiffs for defamation, they could avail themselves of the applicable fault

   requirements designed to accommodate competing First Amendment and reputational interests.

   See Gertz v. Robert Welch, Inc., 418 U.S. 323, 332–48 (1974).

          The Court has emphasized that defamation law actually serves the purposes of the First

   Amendment by incentivizing truth in public discourse and exposing falsehood. See, e.g., Keeton

   v. Hustler Magazine, Inc., 465 U.S. 770, 777 (1984) (“New Hampshire has clearly expressed its

   interest in protecting such persons from libel, as well as in safeguarding its populace from

   falsehoods.”). As the court recognized in Dominion’s currently pending defamation litigation,

   Dominion’s defamation lawsuits do not violate those First Amendment principles, but rather



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   vindicate them because the First Amendment protects “imaginative expression” and “rhetorical

   hyperbole” under “the theory that ‘the ultimate good desired is better reached by free trade in

   ideas—that the best test of truth is the power of the thought to get itself accepted in the

   competition of the market.’” US Dominion, Inc. v. Powell, No. 1:21-cv-00040 (CJN), 2021 WL

   3550974, at *7 n. 7 (D.D.C. Aug. 11, 2021) (quoting Abrams v. United States, 250 U.S. 616, 630

   (1919) (Holmes, J., dissenting)). The court observed, however, that the “free trade of ideas

   depends on a common understanding of the facts, which is undermined by provably untrue

   statements.” Id. at *7 n.7; see also id. at *7 n.8 (rejecting the assertion by Mike Lindell’s

   company, My Pillow Inc., “that the First Amendment grants some kind of blanket protection to

   statements about ‘public debate in a public forum,” and bluntly ruling “that there is no such

   immunity”). Instead, existing doctrines strike the constitutional balance “by limiting viable

   defamation claims to provably false statements made with actual malice.” Id. at *7 n.8.

          That simply sending a prelitigation document preservation letter could in itself constitute

   a violation of the First Amendment is further undermined by the various forms of prelitigation

   notices, or demands for corrections or retractions, that are embedded in the defamation law of

   various states. Many states, including Michigan (where the named Plaintiffs reside), require

   some form of notice of the alleged defamation and demand for a correction or retraction, either

   as a pre-requisite to bringing suit or as an incentive to demand a retraction, because recovery is

   restricted to certain specified categories of damages in the absence of a demand. See, e.g., Mich.

   Comp. Laws § 600.2911(2)(b) (disallowing exemplary and punitive damages in libel actions if

   no notice is given to “the defendant to publish a retraction” ); Hope-Jackson v. Washington, 877

   N.W.2d 736, 750 (Mich. App. 2015) (“MCL 600.2911(2)(b) expressly prohibits an award of



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   exemplary damages unless the plaintiff gives notice to the defendant to publish a retraction.”);

   see also Rodney Smolla, Law of Defamation, §§ 9:70 – 9:74 (2021 update edition) (explaining

   that prelitigation defamation retraction, correction, and notice statutes exist in at least 33 states).

   These statutes are all designed to protect freedom of speech while providing a potentially swift

   remedy to cure or mitigate damage to reputation, as well as serving the public interests in

   correcting the record and encouraging truth in public discourse. See Bongino v. The Daily Beast

   Co., 477 F. Supp. 3d 1310, 1316 (S.D. Fla. 2020) (“The purpose of this notice provision is to

   provide newspapers an ‘opportunity in every case to make a full and fair retraction,’ thus

   mitigating potential damages and protecting the all-important ‘interest in the free dissemination

   of news.’”) (quoting Ross v. Gore, 48 So. 2d 412, 415 (Fla. 1950)). Under the perverse logic of

   the Complaint, however, these myriad statutes incentivize or require actions that violate the First

   Amendment.

           In short, any First Amendment concerns regarding Dominion’s document preservation

   letters and lawsuits against non-parties to this case are already baked into defamation law. No

   rights have been violated.

                                   B. No viewpoint-based discrimination.

           Plaintiffs’ equal protection claim further highlights why their Section 1983 claims are

   illogical. The claim combines First Amendment and equal protection concepts in asserting that

   Dominion engaged in viewpoint-based discrimination because it sent letters to a certain class of

   voters (i.e., conservative voters) and not others. (See Compl., ¶ 109.) A viewpoint-based

   discrimination claim, though, requires allegations that the government or a state actor excluded

   speech or speakers from a forum on the basis of viewpoint. See Manhattan Cmty. Access Corp.



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   v. Halleck, 139 S. Ct. 1921, 1928–30 (2019) (holding that a private entity providing a forum for

   speech does not engage in viewpoint-based discrimination, and thus may exercise editorial

   discretion over the speech and speakers, unless it is deemed a state actor). Plaintiffs’ allegations

   simply do not fit this claim. Not only is Dominion not a state actor, but Dominion has not

   regulated speech or even provided a forum for speech such that it could possibly be considered a

   state actor. Neither the sending of the letters, which are at issue here, nor the provision of voting

   systems to governments regulate speech in any particular forum. See Cornelius v. NAACP Legal

   Def. & Educ. Fund, Inc., 473 U.S. 788, 797 (1985) (explaining that in assessing viewpoint

   discrimination, the court must “identify the nature of the forum, because the extent to which the

   Government may limit access depends on whether the forum is public or nonpublic”). The

   general sphere of “public debate,” as alleged in the Complaint, is not a forum. (See Compl., ¶¶

   1, 45, 74, 85.) Holding otherwise would allow viewpoint discrimination lawsuits to be lodged

   against private companies that contract with the government whenever the companies seek to

   protect themselves against defamation.

          Moreover, to the extent Plaintiffs allege that Dominion violated their equal protection

   rights on the basis that sending the documents preservation letters is unlawful speech, that

   avenue is likewise foreclosed. The government speech doctrine is clear that once speech is

   categorized as that of the government, which Plaintiffs advocate for here on the basis that

   Dominion is a state actor, the First Amendment does not apply. See Walker v. Tex. Div., Sons of

   Confederate Veterans, Inc., 576 U.S. 200, 207 (2015) (“[G]overnment actions and programs that

   take the form of speech[ ] do not normally trigger . . . First Amendment rules”); Matal v. Tam,

   137 S. Ct. 1744, 1757 (2017) (“[O]ur cases recognize that ‘[t]he Free Speech Clause . . . does not



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   regulate government speech.’”). Even if Plaintiffs sincerely believe that Dominion sent them

   letters because of their political leanings, that belief would not equate to an equal protection

   violation.

                c. Plaintiffs fail to state a civil conspiracy claim.

          Plaintiffs’ final claim—civil conspiracy—alleges that Dominion conspired with Clare

   Locke and HPS to deprive Plaintiffs of their constitutional rights. (See Compl., ¶¶ 115–18.)

   Plaintiffs fail to plausibly allege such a claim for many of the same reasons described above.

          First, to the extent Plaintiffs are alleging a conspiracy to infringe on First Amendment

   and equal protection rights under Section 1985(3), that statute does not apply to alleged private

   conspiracies such as this one. See Tilton v. Richardson, 6 F.3d 683, 686 (10th Cir. 1993)

   (explaining that the statute does not apply to private conspiracies that are aimed at a right that is,

   by definition, a right only against state interference). Dominion, Clare Locke, and HPS are all

   private entities, (see Compl., ¶¶ 30–34), and, as shown above, none of the alleged wrongdoing

   was committed under color of law. Only governments and state actors can be liable for such

   violations. Thus, a conspiracy to violate Plaintiffs’ rights under Section 1985(3) cannot form.

          Second, a civil conspiracy under either Section 1985(3) or common law requires

   unlawful overt acts. See Tilton, 6 F.3d at 686; Walker v. Van Laningham, 148 P.3d 391, 396

   (Colo. App. 2006). But here, the alleged unlawful acts are that Dominion engaged in litigation

   tactics to deprive Plaintiffs of their First Amendment and equal protection rights. (See Compl., ¶

   118.) As already described, Plaintiffs’ allegations cannot support such violations. If the

   underlying alleged acts are not unlawful, then a conspiracy to commit them cannot be either.




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          Third, just like Dominion is not itself an “enterprise” for purposes of RICO, Dominion

   cannot conspire with itself to do actions within the scope of its business. See 16 Am. Jur. 2d

   Conspiracy § 58 (“Ordinarily, because a corporation and its agents are a single person in the eyes

   of the law, a corporate entity cannot conspire with itself.”). Conspiracies require two or more

   persons, see, e.g., Walker, 148 P.3d at 396, but the alleged co-conspirators in Plaintiffs’ civil

   conspiracy claim—Clare Locke and HPS—are Dominion’s defamation counsel and public

   relations team, respectively. (See Compl., ¶¶ 33–34.) Per Plaintiffs’ own allegations, the

   purported unlawful actions were Clare Locke sending the litigation preservation letters on behalf

   of Dominion, and HPS publicizing Dominion’s separate defamation lawsuits against non-parties.

   (See id. ¶¶ 4, 8.) They thus acted pursuant to Dominion’s direction as its agents. See 16 Am.

   Jur. 2d Conspiracy § 58 (“Because a corporate entity cannot conspire with itself, a civil

   conspiracy is not legally possible when a corporation and its alleged coconspirators are not

   separate entities but rather stand in either a principal-agent or an employer-employee relationship

   with the corporation.”). There are no non-conclusory allegations that Clare Locke’s and HPS’s

   actions were accomplished independently and outside of their scope of authority as agents of

   Dominion. See id. (explaining that “a corporation cannot conspire with its agent when the agent

   is acting within the scope of their authority” and “not for any personal purpose of their own”).12

   Therefore, Plaintiffs’ civil conspiracy claim fails for this additional reason.


   12
     See also llon Kedem, Case Comment, Can Attorneys and Clients Conspire? Farese v. Scherer,
   342 F.3d 1223 (11th Cir. 2003), 114 YALE L.J. 1819, 1819–20 (2005) (describing the push
   behind Farese v. Scherer, which held that it is impossible for a conspiracy that violates federal
   civil rights to exist between attorney and client); Heffernan v. Hunter, 189 F.3d 405, 412–13 (3d
   Cir. 1999) (holding that attorney-client conspiracy is impossible by analogy to the intracorporate
   conspiracy doctrine); Travis v. Gary Cmty. Mental Health Ctr., Inc., 921 F.2d 108, 110–11 (7th
   Cir. 1990) (holding that a corporation and its outside counsel could not conspire under the

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    II.   The Case Is Not a Justiciable Case or Controversy.

          The inherent disconnect between Plaintiffs’ allegations and the individual causes of

   action not only explain why they have failed to state a claim for relief but also demonstrate why

   their claims lack justiciability. “No principle is more fundamental to the judiciary’s proper role

   in our system of government than the constitutional limitation of federal-court jurisdiction to

   actual cases or controversies.” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 341 (2006).

   Foundational Article III “case or controversy” justiciability requirements require dismissal.

          Plaintiffs’ claims are unripe and lack concreteness. As described above, in the normal

   course of defamation law, a plaintiff sues a defendant, and the defendant is entitled to raise First

   Amendment defenses against the backdrop of specific claims involving specific allegedly

   defamatory statements. But here, Plaintiffs, who have never been sued by Dominion, ask this

   Court to grant them relief based on the nebulous theory that they have been harmed by receiving

   document preservation letters and the speculative possibility that they could be harmed in the

   future, such as by the filing of a defamation lawsuit. This is insufficient. As water cannot rise

   higher than its source, the threat of a defamation suit cannot possibly violate the First

   Amendment if the actual bringing of a defamation suit does not violate the First Amendment.

          The constitutional requirement of ripeness is grounded in Article III’s mandate that

   federal courts hear only cases or controversies. United States v. Cabral, 926 F.3d 687, 693 (10th

   Cir. 2019). “The purpose of the ripeness doctrine is to prevent the premature adjudication of

   abstract claims.” Tex. Brine Co. v. Occidental Chem. Corp., 879 F.3d 1224, 1229 (10th Cir.


   intracorporate conspiracy doctrine); Zelinger v. Uvalde Rock Asphalt Co., 316 F.2d 47, 51–52
   (10th Cir. 1963) (applying Colorado law in holding that a corporation and its employees cannot
   conspire to tortiously interfere with and bring about the breach of a distributorship agreement).

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   2018). “Because federal courts cannot give advisory opinions, the matter must come to the court

   in ‘clean-cut concrete form.’” Cabral, 926 F.3d at 693 (quoting New Mexicans for Bill

   Richardson v. Gonzales, 64 F.3d 1495, 1499 (10th Cir. 1995)). As a result, courts in this Circuit

   are clear that to avoid a constitutionally impermissible advisory opinion, there must be “the

   settling of some dispute that affects the behavior of defendant toward plaintiff.” Phelps v.

   Hamilton, 934 F. Supp. 373, 376 (D. Kan. 1996), aff’d, 113 F.3d 1246 (10th Cir. 1997) (citing

   Hewitt v. Helms, 482 U.S. 755, 761 (1987)). Indeed, the Phelps court, in holding that claims

   brought by a plaintiff who sought prospective declaratory and injunctive relief to prevent

   prosecution under a Kansas criminal defamation statute to be unripe, explained that while it

   “does not doubt that the controversy between plaintiff and defendant is live and ongoing from a

   political rhetorical point of view, plaintiff’s burden is to allege facts which demonstrate that

   judicial resolution of the dispute is properly invoked.” Id. at 376–77. Like the plaintiff in

   Phelps, Plaintiffs here are impermissibly grounding their claims on “uncertain or contingent

   events that may not occur as anticipated, or indeed may not occur at all.” Id. at 377. An opinion

   in this case would have no effect on Dominion’s behavior, as it has not sued Plaintiffs. There is

   no hardship to Plaintiffs if this Court does not intervene. The “dispute” is all political rhetoric.

          Allowing such an anticipatory “I might get sued” cause of action also does not comport

   with the Article III’s standing requirement. See TransUnion LLC v. Ramirez, 141 S. Ct. 2190,

   2212 (2021) (holding that the speculative risk of future harm does not satisfy the concrete harm

   prong of Article III standing). To have standing, Plaintiffs’ injuries in fact must be “concrete”—

   that is, “real, and not abstract.” Spokeo, Inc. v. Robins, 578 U.S. 330, 340 (2016) (internal

   quotation marks omitted). Article III standing does not exist, however, when the only claimed



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   “harm” is a demand that the recipient of a letter preserve documents that may be germane to

   future litigation—litigation in which the recipient of the letter may well not even be a defendant.

   See id. (reasoning that a concrete injury “must actually exist”). Such “harm” has never been

   recognized by American courts. See id. at 341 (instructing that courts should assess whether the

   alleged injury to the plaintiff has a “close relationship” to a harm “traditionally” recognized as

   providing a basis for a lawsuit in American courts). The alleged risk of harm lacks concreteness.

           This Case therefore lacks the ripeness and specificity required for the Court to adjudicate

   a concrete claim and must be dismissed pursuant to Rule 12(b)(1).

                                            CONCLUSION

           For the foregoing reasons, Dominion respectfully requests that this Court dismiss this

   case in its entirety.



   Dated: December 13, 2021                           BROWNSTEIN HYATT FARBER SCHRECK, LLP

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                                   CERTIFICATE OF SERVICE

            The undersigned hereby certifies that on this 13th day of December, 2021, I electronically
   filed a true and correct copy of DEFENDANTS’ MOTION TO DISMISS with the Court using
   the CM/ECF system which will send notification of such filing to all counsel of record.

                                                           /s Stanley L. Garnett __________________
                                                           Stanley L. Garnett




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